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                                     UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF MICHIGAN




IN RE:   ALISA BYRNES                                                        CASE NO: DL-18-01839
         2202 LAGOON DR                                                      Chapter 13
         OKEMOS, MI 48864                                                    HON. SCOTT W. DALES
                                                                             Filed: April 23, 2018

                                                                             Unconfirmed




                        TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE
         NOW COMES, Barbara P. Foley, Chapter 13 Trustee ("Trustee") and files her Motion to Dismiss for the

following reasons:

         FAILURE TO MAKE PAYMENTS ACCORDING TO THE CHAPTER 13 PLAN. THE LAST PAYMENT OF
         $2,009.03 WAS RECEIVED ON MAY 22, 2018. PAYMENTS SHOULD BE $2,009.03 MONTHLY. THE
         PLAN ARREARS ARE $4,018.06.

         WHEREFORE, your Trustee respectfully prays:

         A. That this Court enter an Order dismissing the Debtor's Chapter 13 Case.

         B. That this Court grant such other relief as it finds just and equitable.

         C. Upon dismissal of the Chapter 13 case, the Trustee has cause pursuant to 11 U.S. C. § 349(b) and

             may retain any funds on hand for such time as is necessary to accommodate the dishonor or recall

             period appropriate to the method of payment received.



August 02, 2018                                                      /s/ Barbara P. Foley
                                                                    Barbara P. Foley (P34558)
                                                                    CHAPTER 13 TRUSTEE
                                                                    229 E. Michigan Ave, Suite 440
                                                                    Kalamazoo, MI 49007
                                                                    (269)343-0305

This document has been electronically filed with the Court and the Attorney for Debtor and mailed to the Debtor.

Attorney for Debtor:

         THE GANTZ LAW FIRM
         30903 NORTHWESTERN HWY STE 270
         FARMINGTON HILLS, MI 48334
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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN



ALISA BYRNES                                                                CASE NO: DL-18-01839
2202 LAGOON DR                                                              Chapter 13
OKEMOS, MI 48864                                                            HON. SCOTT W. DALES
                                                                            Filed: April 23, 2018
                                      NOTICE OF MOTION TO DISMISS

        NOTICE IS HEREBY GIVEN that the Chapter 13 Trustee has filed a Motion to Dismiss in the above

captioned proceeding. A copy of said Motion is attached to this Notice.

        Your rights may be affected. You should read these papers carefully and discuss them with your

attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult

one.)

          The Debtor may file a written objection to the Trustee's Motion to Dismiss with:




Clerk of the Bankruptcy Court                                     Barbara P. Foley
One Division Avenue N                                             Chapter 13 Trustee
                                                  AND
Room 200                                                          229 E. Michigan Ave, Suite 440
Grand Rapids, MI 49503                                            Kalamazoo, MI 49007
                                                                  (269)343-0305

        In compliance with Local Bankruptcy Rule 9013(d) and Federal Rules of Bankruptcy Procedure 9013 and

9014, said written objection shall be filed within thirty (30) days from the date of service of the Trustee's Motion. If

an objection is filed, a hearing will be held on October 18, 2018 at 9:00 am at the Bankruptcy Court, 315 W.

Allegan, Room 101, U.S. Post Office & Courthouse, Lansing, Michigan. If a proper objection is not timely filed the

Trustee may file with the Court an Affidavit of No Response together with a proposed Order to Dismiss. The Court

shall enter the Order without a hearing upon receipt of the Affidavit.



Served by: CCJ       on: 08/02/2018
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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN




IN RE:    ALISA BYRNES                                         CASE NO: DL-18-01839
                                                               Chapter 13
                                                               HON. SCOTT W. DALES
                                                               Filed: April 23, 2018

                                   PROOF OF SERVICE

     On the date below, I mailed a copy of the TRUSTEE'S MOTION TO DISMISS by regular
first class mail to Debtor and electronic service on Debtor's Attorney .

ALISA BYRNES
2202 LAGOON DR
OKEMOS, MI 48864
THE GANTZ LAW FIRM
30903 NORTHWESTERN HWY STE 270
FARMINGTON HILLS, MI 48334
    I declare that the above statements are true to the best of my information, knowledge, and
belief.


Dated:    August 02, 2018                             /s/ Cindy Collins-Jenkins
                                                      Assistant to Barbara P. Foley
                                                      Chapter 13 Trustee
                                                      229 E. MICHIGAN AVE, SUITE 440
                                                      KALAMAZOO, MI 49007
                                                      (269)343-0305
